                 Case
  AO 247 (02/08) Order   6:05-cr-00031-BAE-GRS
                       Regarding Motion for Sentence Reduction   Document 101 Filed 05/29/08 Page 1 of 1

                                      UNITED STATES DISTRICT COURT.                                                     . .
                                                  for the
                                                         Southern District of Georgia                     V        29         10:

                   United States of America                          )

                         Eric Birmingham                             ) Case No: CR605-00031-001
                                                                     ) USM No: 11986-002
Date of Previous Judgment: January 17, 2007                          ) George E. Argo
(Use L)ate of Last Amended Judgment if Applicable)                   ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of 1the defendant Lithe Director of the Bureau of Prisons Lithe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDEREII that the motion is:
         DENIED.         GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                     the last judgment issued) of 52        months is reduced to          46 months
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     25                                           Amended Offense Level:      23
Criminal History Category: III                                           Criminal History Category: III
Previous Guideline Range:   70                  to 87 months             Amended Guideline Range: 57 to 71                     months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
    The reduced sentence is within the amended guideline range.
  j The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
    Other (explain): This sentence represents a 21 percent reduction below the minimum of the advisory guideline range
                      and the Court notes the original sentence represented a 26 percent reduction below the minimum of
                      the advisory guideline range.



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Except as provided above, all provisions of the judgment dated January 17, 2007,                    shall remain in effect.
       51111 D)IflT$J

Order Date:        May 29, 2008


                                                                         B. Avant Edenfield /
                                                                         United States District Judge
Effective Date:                                                          For the Southern District of Georgia
                    (if different from order date)                                        Printed name and title
